






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00262-CV






Willie Lloyd, Jr., Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 340TH JUDICIAL DISTRICT


NO. B-99-0526-C, HONORABLE CURT F. STEIB, JUDGE PRESIDING 




	

	Willie Lloyd, Jr., appeals from the district court's order dismissing his petition for
the return of almost $4000 seized when he was arrested for drug offenses.  We will affirm.

	On May 3, 1999, police in San Angelo arrested Lloyd and Sara Hardin while driving
a rental car.  In a search pursuant to arrest, the police found in the car a lockbox containing $3700,
two watches, and another four items of jewelry.  Another $275 was found in Lloyd's wallet.  The
police then executed a search warrant for a motel room registered to Hardin.  The police believed
Hardin and Lloyd were both staying in the room.  The police found more than 200 grams of crack
cocaine, mail addressed to Lloyd, medication prescribed to Lloyd, men's clothing, and eight items
of jewelry in the room.  Most of the cocaine was lumped in "cookies"; some had been chopped up
and packaged into smaller "personal use dosages."

	On May 12, the State filed a notice of seizure and intended forfeiture of the $3975
and the jewelry, alleging it was contraband under article 59.01 of the code of criminal procedure. 
See Tex. Code Crim. P. Ann. arts. 59.01-.11 (West Supp. 2001) (governing forfeiture proceedings). (1) 
Lloyd contested the forfeiture.  On May 19, 2000, the district court signed an "Agreed Final
Judgment of Forfeiture."  The agreed judgment, which Lloyd and his attorney signed "approved as
to form and substance," recited that the parties agreed that the cash and the jewelry were contraband
and subject to forfeiture.  Under the agreement, the cash was forfeited to the State; the jewelry was
returned to Lloyd.

	On April 6, 2001, Lloyd petitioned to have the money returned to him.  He alleged
the State had shown no proof that the money was contraband.  The district court dismissed Lloyd's
claim under chapter 14 of the Texas Civil Practice and Remedies Code, which governs suits filed
by inmates in forma pauperis. (2)  See Tex. Civ. Prac. &amp; Rem. Code Ann. §§ 14.001-.014 (West Supp.
2001).  Lloyd contends the evidence was insufficient to support the court's dismissal.

	An agreed judgment cures all nonjurisdictional errors.  Minnick v. Rogers, 873
S.W.2d 420, 422 (Tex. App.--Tyler 1994, no writ).  On appeal, this Court is limited to the agreed
facts and may not make findings not conforming to those facts.  White v. State, 329 S.W.2d 446, 449
(Tex. Civ. App.--Dallas 1959, writ ref'd n.r.e.).  A party may not agree to a judgment and then later
file a new proceeding disputing the facts recited in the earlier agreement.  See Cortez v. Liberty Mut.
Fire Ins. Co., 885 S.W.2d 466, 470 (Tex. App.--El Paso 1994, writ denied).  A party is barred by
collateral estoppel from attacking a judgment to which he earlier agreed.  Barr v. Resolution Trust
Corp., 837 S.W.2d 627, 628 (Tex. 1992); Freeman v. Cherokee Water Co., 11 S.W.3d 480, 483
(Tex. App.--Texarkana 2000, pet. denied); Cortez, 885 S.W.2d at 470.  

	When Lloyd signed the agreed judgment, he waived the nonjurisdictional error of
which he now complains.  Minnick, 873 S.W.2d at 422.  The State was not required to prove facts
admitted by Lloyd.  White, 329 S.W.2d at 449.  By signing the agreed judgment, Lloyd admitted that
the money and the jewelry were contraband and subject to forfeiture.  Lloyd may not now attack the
agreed judgment and insist on proof that the money was contraband.  We overrule Lloyd's argument
and affirm the district court's judgment of dismissal.





					                                                                                   

					Lee Yeakel, Justice

Before Chief Justice Aboussie, Justices Yeakel and Patterson

Affirmed

Filed:   October 25, 2001

Do Not Publish
1.        The seizing officer's affidavit was attached to the State's petition.  The affidavit stated that the
officer believed that the cash was proceeds from the delivery of a controlled substance and that the
jewelry was acquired with such proceeds.  He based his belief on the large amount of cocaine that
greatly exceeded "typical personal use amounts" and the fact that the preparation of the cocaine
indicated an intent to sell individual rocks.  He further stated some of the jewelry was hidden with
the drugs and cash and other jewelry was hidden separately.
2.        Under section 14.003 of the Civil Practice &amp; Remedies Code, a court may dismiss a claim if
it finds the claim is frivolous.  Tex. Civ. Prac. &amp; Rem. Code Ann. § 14.003(a)(2) (West Supp. 2001). 
In deciding a claim is frivolous, the court may consider the inmate's chance of success, whether there
is an arguable basis in law or fact for the claim, whether the inmate can prove supporting facts, and
whether the claim is substantially similar to a earlier claim filed by the same inmate and arising from
the same operative facts.  Id. § 14.003(b).


